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JHE WHITE HOUSE
WASHINGTON
May 4, 2020

RE: U'S, Federal Person “ROGER ALLEN MOORE/RAAJ AMEXEM MOOR RAFA EL”
‘Taxpayer Identification / Decedent’s Social Security Number: 126-356-2303

 
 
  
  
  
      
   
    
    

Note: See United States Department of the Treasury/Internal Reveave Service Forms 2843 (Power
of Attorney and Declaration of Representative) and 56 (Notice of Fiduciary Agent), seat December
1, 2019, via United States Postat Service Certified Mail Number 7046 09169 6002 3026 3644.

 

To whomever UNITED STATES Business Entity this may concern (who comnrercialiv-operates
on United States Public Markets and excepts and/or exchanges in United States Currency while
providing goods and/or services to U.S. Customers/Consumers in everyday comme;ce),

The above-mentioned U.S. Federal Public Person has a Pre-Paid Non-Obligatory Commercial
Debt Obligation Arrangement with the UNITED STATES in relation to 12 U.S. Code § 95a—
Regulation of Transactions in foreign exchange of gold and silver; property transfers;
vested interests, enforcement and penalties (Part 2) and other Public Policy oa U.S, Debt.

       
     
      

Your Business Entity is federaliy-bound to UNITED STATES ene U.S. Public Debt Obligations,
by way of your Internal Revenue Service Enyployer {dentification Number (the LBS. being
under the U.S. Department of the Treasury) and your Federal Reserve Business Bank Account.

Your Business is hereby ordered to itemize whatever and however many Commercial Products
and/or Services in which the above U.S. Federal Public Person wishes 10 commercially-acquire,
adjust the bottom line total cost amount to zero {$0.00}, and release the items. Provide a receipt
to the above U.S. Federal Person. by way of it's Duly Authorized Representative (“Raaj Rafa El
~ Sui Juris/De jure/In Proper Person”) and retain the record of the transaction to settle with
your Federal Tax Obligation(s) with intemal Revenue Service as the entire overall transaction is
only a Commercial Accounting Matter of what the Bankeupt UNITED STATES owes it’s frye
Creditors, which is the American People, in direct relation to the borrowed gold and National
Banking Emergency Act of 1933. All Commercial Public Debt-Obligations, while transacting afl
business within UNITED STATES Commercial Markets, belong to the UNITED STATES, as
the UNITED STATES is the Zrve Obligor in each and every U.S. Commercial-Transaction-

    
        
        
      

Any Willful Dishonoring and/or Non-Settlement of UNITED STATES Commercial

 

           
  
 
   

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Donald J. Trump
Presidenv(hief Executive Officer of the UNITED STATES
